Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 1 of 32 PageID# 100




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 NORFOLK DIVISION


  Marty Hierholzer, an individual; MJL             Civil Case No. 2:23-cv-00024-RAJ-DEM
  Enterprises, LLC, a Virginia corporation,

  Plaintiffs,

                         v.

  Isabel Guzman, in her official capacity as
  Administrator of the Small Business
  Administration; Small Business Administration,

  Defendants.


          PLAINTIFFS’ RESPONSE IN OPPOSITION TO MOTION TO DISMISS
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 2 of 32 PageID# 101




                                                  TABLE OF CONTENTS

    INTRODUCTION .............................................................................................................. 1
    STATEMENT OF FACTS ................................................................................................. 2
    STANDARD OF REVIEW ................................................................................................ 8
    ARGUMENT .................................................................................................................... 10
       I.         Plaintiffs Have Standing..................................................................................... 10
             A.      Plaintiffs plausibly allege an injury in fact ..................................................... 10
             B.      Plaintiffs’ injury is traceable to Defendants’ enforcement of the
                     8(a) program.................................................................................................... 12
             C.      Plaintiffs’ injury is redressable by a favorable decision from this Court ....... 13
       II.        Plaintiffs Plausibly Allege that the Race-Based Presumptions Violate the
                  Fifth Amendment ............................................................................................... 14
       III.       Plaintiffs Plausibly Allege that the Racial Classifications Violate the Fifth
                  Amendment ........................................................................................................ 17
       IV.        Plaintiffs Plausibly Alleges a Violation of the Nondelegation Doctrine ........... 19
       V.         Plaintiffs Plausibly Allege That the SBA’s Implementation of the 8(a) Program
                  Violates Other Separation-of-Powers Principles ............................................... 23
       VI.        The Statute of Limitations Does Not Bar Plaintiffs’ Request for
                  Prospective Relief .............................................................................................. 25
    CONCLUSION ................................................................................................................. 29
    CERTIFICATE OF SERVICE ......................................................................................... 30




                                                                     i
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 3 of 32 PageID# 102




                                        INTRODUCTION

           Plaintiff Marty Hierholzer is a small business owner that seeks the chance to

    compete for federal contracts without being discriminated against on the basis of race. But

    the Small Business Administration’s Section 8(a) Business Development Program (the

    “8(a) program”)—which ostensibly seeks to assist small businesses in procuring federal

    contracts—creates different rules for different business owners based on the business

    owner’s race. That program, which provides a host of federal contracts set aside for

    program participants, is open only to entrepreneurs that the SBA considers “socially

    disadvantaged.” Yet “social disadvantage” is a term bound with race: the 8(a) program

    presumes that some business owners are socially disadvantaged solely on account of their

    race or ethnicity. Business owners that do not belong to a favored racial group, however,

    must establish individual social disadvantage to the SBA’s satisfaction—a demanding

    burden that many small business owners like Mr. Hierholzer are unable to surmount. As a

    result, Mr. Hierholzer and his business MJL Enterprises are frozen out of the 8(a) program

    and ineligible to receive federal contracts set aside for the program’s participants.

           The race-based measures of the 8(a) program violate the fundamental right of

    equality before the law embodied in the Due Process Clause of the Fifth Amendment to

    the United States Constitution. The Fifth Amendment requires the federal government to

    demonstrate that all racial classifications are narrowly tailored to further a compelling

    interest. But the government has provided no evidence of either narrow tailoring or a

    compelling interest in its motion—and such evidence would be improper at the pleadings

    stage. The SBA regulations in this case also run counter to important separation-of-powers




                                                  1
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 4 of 32 PageID# 103




    principles. There could hardly be a power that warrants more caution than the power to

    distribute benefits and burdens on the basis of race. Yet the SBA retains for itself the power

    to create favored racial groups at its whim—a power that Congress could not have granted

    the SBA without running afoul of the nondelegation doctrine. Defendants’ Motion to

    Dismiss should be denied.

                                    STATEMENT OF FACTS

                                         The 8(a) Program

             The 8(a) program seeks to “promote the business development” of small business

    owners who have suffered social and economic disadvantage. Compl. ECF No. 1 ¶ 4; 15

    U.S.C. § 631(f)(2). In addition to providing technical, management, and other assistance

    to those who qualify, the 8(a) program both sets aside federal government contracts for

    which only participants in the program can compete and awards federal government

    contracts to program participants via sole-source awards, which are contracts awarded

    without any competition. Compl. ¶¶ 27–28; 15 U.S.C. §§ 631(f)(2), 637(a)(1)(A), (B); 13

    C.F.R. § 124.501(b).

             From fiscal years 2010–2021, the SBA awarded to program participants nearly 30

    billion dollars per year in federal contracts. Congressional Research Service, SBA’s “8(a)

    Program”: Overview, History, and Current Issues Congressional Research Service 35

    (updated Mar. 9, 2022). 1 Over 60 percent of these contracts were categorically unavailable

    to businesses that did not participate in the program either because the contracts were set




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        Available at https://crsreports.congress.gov/product/pdf/R/R44844.



                                                  2
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 5 of 32 PageID# 104




    aside for bidding by only program participants or because they were awarded as sole source

    contracts to program participants without competitive bidding. Id.

           Participation in the program is limited to business owners who are both socially and

    economically disadvantaged. First, the program considers business owners to be socially

    disadvantaged if they “have been subjected to racial or ethnic prejudice or cultural bias

    because of their identity as a member of a group without regard to their individual qualities”

    and due to “circumstances beyond their control.” 15 U.S.C. § 637(a)(5); 13 C.F.R.

    § 124.103(a). Second, among those socially disadvantaged individuals, program

    participation is limited to “[e]conomically disadvantaged individuals,” which is defined by

    the Act as “those socially disadvantaged individuals whose ability to compete in the free

    enterprise system has been impaired due to diminished capital and credit opportunities.”

    15 U.S.C. § 637(a)(6)(A).

                                Social Disadvantage Requirements

           The 8(a) program presumes that many business owners are socially disadvantaged

    solely on account of their race or ethnicity. The Act concludes in its preamble that “socially

    disadvantaged” persons include persons who are “Black Americans, Hispanic Americans,

    Native Americans . . . Asian Pacific Americans . . . and other minorities.” 15 U.S.C.

    § 631(f)(C). The Act’s findings have been codified by regulation to create a rebuttable

    presumption of social disadvantage for members of officially “designated groups.” 13

    C.F.R. § 124.103(b)(1). Members of “designated groups” are presumed to be socially

    disadvantaged unless the SBA receives “credible evidence to the contrary.” Id.

    § 124.103(b)(3).




                                                  3
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 6 of 32 PageID# 105




           The SBA has also designated racial and ethnic groups whose members are entitled

    to the presumption of social disadvantage. For example, the SBA defines “Asian Pacific

    American” as including a person from “China (including Hong Kong)” but not a person

    with origins in Mongolia. Id. While the former is presumed socially disadvantaged, the

    latter is not. Still other ethnicities are not defined at all. For example, the regulation does

    not specify what subgroups are included within “Black American” or “Hispanic

    American.” However, the SBA relies on the definitions of “Hispanic,” “Black,” and

    “White” in the Office of Management and Budget’s Directive No. 15, entitled “Race and

    Ethnic Standards for Federal Statistics and Administrative Reporting.” Compl. ¶ 38.

           Additionally, under SBA regulation, representatives 2 of identifiable groups may

    petition the SBA to designate their group as presumptively socially disadvantaged by

    public comment rule making. 13 C.F.R. § 124.103(b)(1), (d). Such groups must present

    “substantial evidence that members of the group have been subjected to racial or ethnic

    prejudice or cultural bias.” 13 C.F.R. § 124.103(d)(1). The SBA must then determine

    whether the group has “suffered prejudice, bias, or discriminatory practices” that resulted

    in “economic deprivation,” and that the disadvantages faced by the group have “produced

    impediments in the business world.” Id. § 124.103(d)(2). However, the SBA has rejected

    most petitions that it has received, including petitions from Hasidic Jews, women, disabled

    veterans, and Iranians. See Compl. ¶ 45; Congressional Research Service, supra, at 6 n.34;



    2
      The regulatory text does not provide a definition of “representative.” See 13 C.F.R.
    § 124.3. But it does not appear that “representative” means anything other than the party
    who petitions for a group’s inclusion in the list of groups designated by 13 C.F.R.
    § 124.103(b)(1) as presumptively socially disadvantaged.



                                                  4
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 7 of 32 PageID# 106




    George R. La Noue & John C. Sullivan, Gross Presumptions: Determining Group

    Eligibility for Federal Procurement Preferences, 41 Santa Clara L. Rev. 103, 127–29

    (2000). Ironically, the SBA has accepted petitions from Asian Indians (the highest income

    racial group in the United States) and Sri Lankans. Compl. ¶ 45.

           Although a presumption of social disadvantage may be rebutted with “credible

    evidence,” in practice a presumption of social disadvantage is determinative of social

    disadvantage. Because no applicant who is presumptively socially disadvantaged

    voluntarily presents evidence denying their own social disadvantage, the SBA can only

    obtain credible evidence if presented to the SBA by outside parties. Further, SBA

    regulations explicitly prohibit any party from challenging the eligibility of an 8(a)

    participant as part of a bid or contract protest either to the SBA or any administrative forum.

    13 C.F.R. § 124.517(a).

           By contrast, applicants belonging to racial groups that are not presumed to be

    socially disadvantaged must demonstrate that they have been socially disadvantaged by a

    preponderance of the evidence. 13 C.F.R. § 124.103(c)(1). Applicants must show they have

    (1) an objective distinguishing feature that has contributed to their social disadvantage,

    which must be (2) based on their experience in American society, (3) chronic and

    substantial, and (4) must have negatively impacted their entry into or advancement in the

    business world. Id. § 124.103(c)(2).

           Although proving social disadvantage by a preponderance of the evidence is, in

    theory, a means of gaining entry into the 8(a) program, in practice very few 8(a) program




                                                  5
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 8 of 32 PageID# 107




    participants have achieved eligibility through demonstrating their individual social

    disadvantage to the SBA’s satisfaction. Compl. ¶ 66. 3

                              Economic Disadvantage Requirements

           “Economically disadvantaged” is defined broadly enough that almost all small

    business concerns owned by a socially disadvantaged individual will be considered

    “economically disadvantaged” so long as the small business concern satisfies the SBA’s

    income, net worth, and asset restrictions. Compl. ¶ 33. Specifically, in considering whether

    an applicant has “diminished capital and credit opportunities,” the SBA will “examine

    factors relating to the personal financial condition of any individual claiming

    disadvantaged status, including income for the past three years . . . , personal net worth,

    and the fair market value of all assets.” 13 C.F.R. § 124.104(c). Generally, an individual

    must have (1) a net worth of less than $850,000 (id. § 124.104(c)(2)); (2) average adjusted

    gross income of less than $400,000 over the three years preceding the submission of the

    8(a) application (id. § 124.104(c)(3)); and (3) assets whose fair market value does not

    exceed $6.5 million (id. § 124.104(c)(4)). 4 A business owner need not recount “diminished


    3
      Of 7,669 small businesses that submitted online applications in FY 2020 to participate in
    the 8(a) program, SBA approved only 591 of them. SBA Office of the Inspector General,
    SBA’s Business Development Assistance to 8(a) Program Participants, Report Number 22-
    08, February 14, 2022, p. 9, https://www.oversight.gov/sites/default/files/oig-
    reports/SBA/SBA-OIG-Report-22-08.pdf. The Inspector General report does not however
    specify how many of the applications were received from presumptively socially
    disadvantaged individuals. Nor does the report state the reason the applications were
    rejected.
    4
      The value of the applicant’s primary personal residence and business are not included for
    calculating net worth. 15 U.S.C. § 637(a)(6)(E); 13 C.F.R. § 124.104(c)(2). Should the
    applicant’s income exceed $850,000, a presumption of lack of economic disadvantage may
    be rebutted “by a showing that this income level was unusual and not likely to occur in the




                                                 6
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 9 of 32 PageID# 108




    capital and credit opportunities” in particular instances to establish his economic

    disadvantage. Indeed, the SBA recently eliminated the requirement to submit a narrative

    statement in support of a claim of economic disadvantage and instead rested the

    determination of social disadvantage “solely on an analysis of objective financial data

    relating to the individual’s net worth, income and total assets.” Congressional Research

    Service, supra, at 24.

                             Marty Hierholzer and MJL Enterprises, LLC

           Mr. Hierholzer is a service-disabled veteran and owner of MJL Enterprises, LLC

    (MJL), which contracts with the government to provide various services and supplies. He

    served his country with distinction as a Navy deep sea diver, where he persevered through

    mental and physical injuries suffered in the line of duty. Compl. ¶ 2.

           During his time in the Navy, Mr. Hierholzer recalls that military suppliers

    sometimes failed to provide adequate supplies. After retiring from the Navy, Mr.

    Hierholzer set out to fill the void and started his business, MJL Enterprises, LLC, to provide

    dependable supplies and services to the United States military. MJL is legally recognized

    as a small business under the terms of the 8(a) program. Id. ¶ 14. Today, the company

    provides a variety of goods and services—such as medical, maintenance, and repair

    equipment—to military bases and VA hospitals. Id. ¶ 22.

           Mr. Hierholzer twice applied for MJL to be included in the 8(a) program. Id. ¶ 54.

    But he is of German and Scottish descent and is therefore not a member of a group that


    future, that losses commensurate with and directly related to the earnings were suffered, or
    by evidence that the income is not indicative of lack of economic disadvantage.” 13 C.F.R.
    § 124.104(c)(3)(i).



                                                  7
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 10 of 32 PageID# 109




    enjoys a presumption of social disadvantage under the 8(a) program. Id. ¶ 47.

    Mr. Hierholzer invested substantial money, time, and effort filing multiple applications for

    MJL to join the 8(a) program, each time working in vain with program representatives to

    ensure he provided appropriate documentation supporting his eligibility. Id. ¶ 57. The SBA

    denied both applications. Id. ¶ 55.

           Moreover, Mr. Hierholzer meets all the requirements to be considered economically

    disadvantaged under the 8(a) program. He (1) has a net worth of less than $850,000; (2) has

    had an average adjusted gross income of less than $400,000 in each of the three prior years

    and in each of the three prior years preceding his application; and (3) holds assets whose

    fair market value does not exceed $6.5 million. See Hierholzer Decl. ¶¶ 4–6. Because

    Mr. Hierholzer meets the economic qualifications of the program, he would have been

    accepted into the 8(a) program without having to prove his social disadvantage if he

    belonged to one of the favored racial groups listed in 15 U.S.C. § 631(f)(1)(B), (C) and 13

    C.F.R. § 124.103(b)(1). Compl. ¶ 64. But because he is not, he has been categorically

    excluded from the program—and the valuable opportunities that it provides for small

    business owners like him. Mr. Hierholzer brings this civil rights lawsuit to vindicate his

    constitutional rights and to compete on a race-neutral playing field.

                                   STANDARD OF REVIEW

           On a Rule 12(b)(1) motion to dismiss for lack of standing, the Court may dismiss

    “only if the material jurisdictional facts are not in dispute and the moving party is entitled

    to prevail as a matter of law.” Evans v. B.F. Perkins Co., a Div. of Standex Int’l Corp., 166

    F.3d 642, 647 (4th Cir. 1999) (quoting Richmond, Fredericksburg & Potomac R. Co. v.




                                                  8
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 11 of 32 PageID# 110




    United States, 945 F.2d 765, 768 (4th Cir. 1991)). The Court must assume the truth of

    Plaintiffs’ factual allegations and draw any reasonable inferences in Plaintiffs’ favor. David

    v. Alphin, 704 F.3d 327, 333 (4th Cir. 2013). Moreover, in determining whether the Court

    has jurisdiction, the Court may consider evidence outside of the pleadings. See Richmond,

    Fredericksburg & Potomac R.R. Co. v. United States, 945 F.2d 765, 768 (4th Cir. 1991);

    see also Kerns v. United States, 585 F.3d 187, 190 (4th Cir. 2009) (noting the Court may

    hold an evidentiary hearing to determine challenged jurisdictional facts). However, the

    Court attaches “a presumption of truthfulness” to the plaintiff’s allegations where “the

    jurisdictional facts are intertwined with the facts central to the merits of the dispute.” Kerns,

    585 F.3d at 193.

            When ruling on a Rule 12(b)(6) motion to dismiss for failure to state a claim, the

    Court must “accept as true all of the factual allegations contained in the complaint and

    draw all reasonable inferences in favor of the plaintiff.” King v. Rubenstein, 825 F.3d 206,

    212 (4th Cir. 2016). To survive a Rule 12(b)(6) motion to dismiss, a “complaint must

    contain sufficient factual allegations, taken as true, ‘to raise a right to relief above the

    speculative level’ and ‘nudge [the] claims across the line from conceivable to plausible.’”

    In re Birmingham, 846 F.3d 88, 92 (4th Cir. 2017) (quoting Vitol, S.A. v. Primerose

    Shipping Co., 708 F.3d 527, 543 (4th Cir. 2013)).




                                                   9
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 12 of 32 PageID# 111




                                           ARGUMENT

    I.      Plaintiffs Have Standing

            Article III standing requires (1) an “injury in fact” (2) that is “fairly traceable” to

    the defendant and (3) redressable by a favorable decision. Lujan v. Defenders of Wildlife,

    504 U.S. 555, 560–61 (1992). Plaintiffs have adequately pled all three elements of standing

    in this case.

            A.      Plaintiffs plausibly allege an injury in fact

            Plaintiffs suffer an injury of a serious kind: the denial of equal treatment on the

    basis of race. The injury in fact in an equal protection case involving racial discrimination

    is not the ultimate denial of the benefit, but the erection of “a barrier that makes it more

    difficult for members of one group to obtain a benefit than it is for members of another

    group.” Ne. Fla. Chapter of Associated Gen. Contractors of Am. v. City of Jacksonville,

    Fla., 508 U.S. 656, 666 (1993) (City of Jacksonville); see also Grutter v. Bollinger, 539

    U.S. 306, 317 (2003) (noting that the plaintiff “clearly has standing” to bring a lawsuit

    challenging the use of race as one of many factors in admissions decisions).

            The government’s argument to the contrary is both legally and factually wrong. The

    government is wrong on the law with respect to its assertion that Plaintiffs must point to a

    lost bid as a result of the 8(a) program. See Mot. to Dismiss ECF No. 20 at 17. In City of

    Jacksonville, the Supreme Court plainly rejected that argument, explaining that the injury

    in fact in an equal protection case involving racial discrimination is “the inability to

    compete on an equal footing in the bidding process, not the loss of a contract.” 508 U.S. at

    666. The government is also wrong in contending that the City of Jacksonville standard




                                                  10
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 13 of 32 PageID# 112




    applies only where the government’s racial classifications serve as a “complete bar” to a

    benefit. See Mot. to Dismiss at 19. The Supreme Court routinely applies that standard in

    cases involving racial classifications—even where such race is determinative on some

    occasions and “play[s] no role” in others. Grutter, 539 U.S. at 316.

            The government is factually wrong in its assertion that the race-based presumption

    of social disadvantage was not a complete bar to contracts set aside for 8(a) businesses.

    Had Mr. Hierholzer been a member of a favored racial group, he would have enjoyed

    presumptive status as a disadvantaged business and would have been able to obtain

    contracts set aside for such businesses. Yet because the government does not classify

    Mr. Hierholzer as a member of a favored racial group, he must make additional showings

    of individualized social disadvantage to the SBA’s satisfaction, which he attempted to do

    twice—to no avail.

            The government’s assertion that Mr. Hierholzer did not lose any contracts as a

    result of his inability to participate in the 8(a) program has no legal relevance. It also strains

    credulity. The government’s own declarant attests that MJL has routinely performed on

    government contracts over the span of several years. See ECF No. 20-2, Declaration of

    Sam Le ¶ 4 (noting that MJL has performed on thousands of federal contracts since 2006).

    It stands to reason MJL would have performed on 8(a) program contracts as well. Yet the

    8(a) program’s race-based presumption of social disadvantage has frozen MJL out of

    contracts set aside pursuant to that program.




                                                   11
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 14 of 32 PageID# 113




           B.      Plaintiffs’ injury is traceable to Defendants’ enforcement of the
                   8(a) program

           Plaintiffs’ injury is traceable to Defendants’ enforcement of the 8(a) program in

    multiple ways.     The   program’s    race-based   presumptions    impose hurdles      for

    Mr. Hierholzer’s participation in the 8(a) program because of his race. Nearly all program

    participants enter the program without having to demonstrate social disadvantage because

    the owner is presumptively disadvantaged on account of race. Yet because Mr. Hierholzer

    is a member of a disfavored racial group under the 8(a) program, he must make a showing

    of individual social disadvantage. Therefore, the government misses the point when it

    asserts that Plaintiffs’ injury stems from the SBA’s denial of their application to be

    considered socially disadvantaged. Plaintiffs should never have to make the showing in the

    first instance. The SBA would have never been in the position to consider an application

    from Mr. Hierholzer but for the 8(a) program’s race-based presumptions.

           The government further argues that Plaintiffs’ injury is not traceable to the race-

    based presumptions challenged in this case because Plaintiffs could not meet the

    requirement for “economic disadvantage.” But that is both inaccurate and irrelevant. It is

    inaccurate because Plaintiffs do in fact meet the regulatory requirements for economic

    disadvantage, which is determined by a business owner’s personal net worth, adjusted

    gross income, and assets. See 13 C.F.R. § 124.104; see Hierholzer Decl. ¶¶ 4–6 (attesting

    that Hierholzer meets the financial requirements to be considered economically




                                               12
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 15 of 32 PageID# 114




    disadvantaged). 5 It is irrelevant because the 8(a) program plainly sets aside a portion of

    contracts for disadvantaged businesses—and that set-aside is based on race. Therefore, any

    business—economically disadvantaged or not—would have standing to raise an equal

    protection challenge to racial set-asides. See Dynalantic Corp. v. Department of Defense,

    115 F.3d 1012, 1016 (D.C. Cir. 1997) (Dynalantic I) (noting that the business’s injury

    stems from the fact that “the entire 8(a) program—which injures it by foreclosing business

    opportunities—is infected by unconstitutional race consciousness”).

           C.      Plaintiffs’ injury is redressable by a favorable decision from this Court

           The government’s arguments on redressability simply repeat the mistake it makes

    in its other standing arguments. The government contends Plaintiffs have not plausibly

    alleged that MJL would be eligible for the 8(a) program if the race-based presumption were

    removed, and that Plaintiffs have not plausibly alleged that they would experience any

    beneficial change from the elimination from the presumption.

           The government’s analysis again reflects a fundamental misunderstanding of equal

    protection law. The race-based presumptions impose additional burdens on business

    owners who the government considers to be members of disfavored racial groups. Unlike

    business owners that the government considers presumptively disadvantaged on the basis

    of race, business owners like Mr. Hierholzer must make additional showings of

    individualized social disadvantage—which ultimately exclude MJL from participation in



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      The government’s argument puts the cart before the horse because an economically
    disadvantaged individual must first be deemed socially disadvantaged. See 15 U.S.C.
    § 637(a)(6)(A) (defining “economic disadvantaged individuals” as a subset of “socially
    disadvantaged individuals”); 13 C.F.R. § 124.104(a) (same).



                                                13
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 16 of 32 PageID# 115




    the 8(a) program. Because the race-based presumptions “prevent[] [MJL] from” competing

    for government contracts “on an equal basis,” it follows that “a judicial decree directing

    the city to discontinue its program would ‘redress’ the injury.” City of Jacksonville, 508

    U.S. at 666 & n.5; see also Heckler v. Mathews, 465 U.S. 728, 740 (1984) (“[W]hen the

    right invoked is that to equal treatment, the appropriate remedy is a mandate of equal

    treatment, a result that can be accomplished by withdrawal of benefits from the favored

    class as well as by extension of benefits to the excluded class.”) (internal quotation marks

    omitted). 6

    II.     Plaintiffs Plausibly Allege that the Race-Based Presumptions Violate the
            Fifth Amendment

            The Due Process Clause of the Fifth Amendment to the United States Constitution

    contains an equal protection component applicable to the federal government. Bolling v.

    Sharpe, 347 U.S. 497, 499 (1954). “[A]ll racial classifications, imposed by whatever

    federal, state, or local governmental actor, must be analyzed by a reviewing court under

    strict scrutiny.” Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 227 (1995).

            Both the statutes and the implementing regulations employ racial classifications.

    The government is therefore correct in readily conceding that the regulations are subject to

    strict scrutiny. See Mot. to Dismiss at 23 & n.7. The government is incorrect, however, to

    depart from the government’s longstanding position and to suggest that the statutes


    6
      In practice, MJL would likely benefit from either remedy that would cure Plaintiffs’ equal
    protection violation. If the Court requires the government to extend the presumption, MJL
    would be presumptively eligible to participate in the 8(a) program. If the Court eliminates
    the presumption, there would be many fewer 8(a) participants—which reduces the
    possibility that any particular contract would be awarded under the 8(a) program.
    Dynalantic I, 115 F.3d 1012.



                                                14
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 17 of 32 PageID# 116




    challenged in this case are only subject to rational basis review. See id. at 23 & n.9. To

    begin, the statutory framework belies the government’s assertion that the statute benefits

    only “individuals who have experienced discrimination,” id. at 22. On the contrary, the

    statute presumes that all members of preferred racial groups have suffered discrimination,

    and affords them a lighter burden to establish disadvantage under the 8(a) program.

           The statutes authorizing the 8(a) program are subject to strict scrutiny because they

    distribute benefits and burdens on the basis of race. Parents Involved in Community

    Schools v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 720 (2007). Section 631, for instance,

    reflects Congress’s determination that “many [ ] persons are socially disadvantaged

    because of their identification as members of certain groups that have suffered the effects

    of discriminatory practices” and that “such groups include, but are not limited to, Black

    Americans, Hispanic Americans, Native Americans, Indian tribes, Asian Pacific

    Americans, Native Hawaiian Organizations, and other minorities.” 15 U.S.C.

    § 631(f)(1)(B)–(C).

           This Court should decline the government’s invitation to gloss over these express

    racial classifications. See Mot. to Dismiss at 22–23. The government relies on the D.C.

    Circuit’s decision in Rothe Development, Inc. v. U.S. Department of Defense, in which a

    divided panel refused to apply strict scrutiny because the express classifications were

    “located in the findings section of the statute.” 836 F.3d 57, 66 (D.C. Cir. 2016). But as

    Judge Henderson noted in dissent, a statutory preamble “may aid in achieving a ‘general

    understanding’ of the statute” and illuminate otherwise ambiguous statutory commands.

    See id. at 79–80 (Henderson, J., dissenting).




                                                15
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 18 of 32 PageID# 117




            Because strict scrutiny places the burden squarely on the government to produce

    evidence that its racial classifications are narrowly tailored to achieving a compelling

    government interest, this Court should reject the government’s efforts to dismiss the case

    at the pleadings stage. Plaintiffs have pled a plausible claim that the statutes and regulations

    challenged in this case cannot withstand strict scrutiny. The government offers no evidence

    in its motion to sustain its burden of proving that the classifications employed by the 8(a)

    program serve a compelling interest in remedying past discrimination. See Parents

    Involved, 551 U.S. at 720 (noting that the government defendants had failed to demonstrate

    a compelling interest in “remedying the effects of past intentional discrimination”). 7

            The government fares even worse on narrow tailoring. Although narrow tailoring

    requires the government to show “the most exact connection between justification and

    classification,” Fullilove v. Klutznick, 448 U.S. 448, 537 (1980) (Stevens, J., dissenting),

    the 8(a) program gives the SBA the authority to set aside contracts for “disadvantaged”

    businesses in an industry without any evidence that discrimination has ever existed in that

    industry or whether the individual bidding on the contract has ever been discriminated

    against. The implementing regulation similarly permits gratuitous benefits to individuals

    from Burma, Brunei, Macao, and anywhere else the SBA may wish to designate without



    7
      The government’s motion reflects significant confusion about the distinction between
    facial and as-applied challenges. Yet as the Fourth Circuit explained in its recent decision
    in White Coat Waste Project v. Greater Richmond Transit Company, 35 F.4th 179, 204–
    05 (4th Cir. 2022), where an as-applied challenge “depends on the identity or circumstances
    of the plaintiff,” a facial challenge does not. The constitutionality of the statutes and
    regulations challenged in this case does not depend on Plaintiffs’ identity but on the fact
    that the government has failed to justify a program that distributes benefits and burdens on
    the basis of race.



                                                  16
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 19 of 32 PageID# 118




    any evidence that a small business owner belonging to one of those groups had even

    competed for a contract in that industry. See 13 C.F.R. § 124.103(b), (d). That is the

    hallmark of an insufficiently tailored program. See City of Richmond v. J.A. Croson Co.,

    488 U.S. 469, 506 (1989) (faulting the City of Richmond for providing preferences for

    “Eskimo, or Aleut persons” even though “[i]t may well be that Richmond has never had an

    Aleut or Eskimo citizen”).

           Finally, the government asks this Court to dismiss the case based on the decision

    from an out-of-circuit district court in DynaLantic Corp. v. U.S. Dep’t of Def., 885 F. Supp.

    2d 237 (D.D.C. 2012) (DynaLantic II). This Court is not bound by the analysis in

    DynaLantic II, which if anything, favors denying the government’s motion in this case.

    The court in DynaLantic II reached its decision on cross-motions for summary judgment—

    only after the defendants had submitted evidence to meet their burden of establishing a

    compelling interest in remedying discrimination (which the government has not done here)

    and after the plaintiffs had a chance to present evidence to rebut the government’s initial

    showing (which Plaintiffs here have not had the opportunity to do). Therefore,

    DynaLantic II underscores that Plaintiffs’ claims must move past the pleadings stage.

    III.   Plaintiffs Plausibly Allege that the Racial Classifications Violate the
           Fifth Amendment

           “It is a sordid business, this divvying us up by race.” League of United Latin Am.

    Citizens v. Perry, 548 U.S. 399, 511 (2006) (Roberts, C.J., concurring in part, concurring

    in the judgment in part, and dissenting in part). Yet the government fails to even respond

    to Plaintiffs’ second claim that the racial classifications established by the 8(a) program




                                                 17
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 20 of 32 PageID# 119




    and implementing regulations violate the Fifth Amendment’s equal protection guarantee.

    See Compl., Claim II.

           The statutes create arbitrary racial classifications that say nothing about any

    business owner’s individual characteristics. The statute presumes social disadvantage for

    “Hispanic Americans,” which some scholars have described as “an artificial rubric for a

    set of diverse populations that resulted from the mixture of indigenous American peoples,

    African slaves, and Europeans.” Jonathan Borak et al., Who is Hispanic? Implications for

    Epidemiologic Research in the United States, 15 Epidemiology 240, 241 (2004); see also

    Jack D. Forbes, The Hispanic Spain: Party Politics and Governmental Manipulation of

    Ethnic Identity, 19 Latin Am. Persp. 59, 67–68 (1992) (asserting that “the Hispanic concept

    is a Nixon-engineered political device”). The term “Asian Pacific American” is similarly

    broad and arbitrary. According to the SBA, that term includes people from Burma,

    Thailand, Malaysia, Indonesia, Singapore, Brunei, Japan, China (including Hong Kong),

    Taiwan, Laos, Cambodia, Vietnam, Korea, The Philippines, U.S. Trust Territory of the

    Pacific Islands, Republic of the Marshall Islands, Federated States of Micronesia, the

    Commonwealth of the Northern Mariana Islands, Guam, Samoa, Macao, Fiji, Tonga,

    Kiribati, Tuvalu, and Nauru. See 13 C.F.R. § 124.103(b)(1). As Justice Alito aptly noted,

    it “would be ludicrous to suggest that all of these [individuals] have similar backgrounds

    and similar . . . experiences to share.” Fisher v. Univ. of Texas, 579 U.S. 365, 414 (2016)

    (Alito, J., dissenting). In all, the statutory classifications are too crude to meet the




                                                18
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 21 of 32 PageID# 120




    constitutional demand for “the most exact connection between justification and

    classification.” Fullilove, 448 U.S. at 537 (Stevens, J., dissenting). 8

            The regulations fare no better. They assert that a Chinese business owner, but not a

    Mongolian business owner, is an Asian Pacific American that is presumed socially

    disadvantaged. The SBA recognizes individuals from Pakistan as presumptively

    disadvantaged, but arbitrarily excludes individuals from Afghanistan. Without searching

    judicial inquiry, there is no way to determine whether these seemingly arbitrary distinctions

    are “in fact motivated by illegitimate notions of racial inferiority or simple racial politics.”

    Croson, 488 U.S. at 493.

    IV.     Plaintiffs Plausibly Alleges a Violation of the Nondelegation Doctrine

            Article I, § 1, of the Constitution states: “All legislative Powers herein granted shall

    be vested in a Congress of the United States.” Under the nondelegation doctrine, Congress

    may not “abdicate or [] transfer to others the essential legislative functions with which it is

    thus vested.” A.L.A. Schechter Poultry Corp. v. United States, 295 U.S. 495, 529 (1935).

    When Congress confers decisionmaking authority upon agencies, Congress must “lay

    down by legislative act an intelligible principle to which the person or body authorized to

    [act] is directed to conform.” Whitman v. Am. Trucking Associations, 531 U.S. 457, 472

    (2001) (quoting J.W. Hampton, Jr., & Co. v. United States, 276 U.S. 394, 409 (1928)).




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      The statutes also permit race-based preferences for “other minorities” unenumerated in
    the statutory text. This preference suffers from a similar problem in that it provides
    gratuitous benefits to individuals that have nothing in common besides their membership
    in a crudely defined racial group.



                                                  19
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 22 of 32 PageID# 121




           Plaintiffs plausibly pled that SBA lacks an “intelligible principle” to select which

    contracts to reserve for the 8(a) program as the SBA deems “necessary or appropriate”

    under 15 U.S.C. § 637(a)(1)(B). The Supreme Court’s decision in Panama Refining Co. v.

    Ryan, 293 U.S. 388 (1935), is illustrative. There, the Court held that a provision of the

    National Recovery Act was an unconstitutional delegation of legislative power because it

    gave unfettered discretion to the President to decide whether and under what conditions to

    prohibit the transport of hot oil. Id. at 430. Notwithstanding the general goal of improving

    American economic conditions, the Act was unconstitutional because Congress failed to

    make any policy decision governing this issue. Id. at 416–18. The President was simply

    free to weigh competing policy considerations as he deemed “fit.” Id. at 415.

           As in Panama Refining, the delegation of authority to the SBA to set aside certain

    federal contracts to the 8(a) program fails to provide an intelligible principle by which to

    guide agency discretion and thus violates the nondelegation doctrine. The government

    retorts that “the language in 15 U.S.C. § 631(f)(1) states the findings made by Congress in

    enacting the 8(a) program and expresses the policy behind the program, both of which

    serve to guide SBA in its implementation of the 8(a) program.” Mot. to Dismiss at 21. But

    the findings in 15 U.S.C. § 631(f)(1), and particularly in 15 U.S.C. § 631(f)(1)(F)–(G),

    only state that procurement from socially and economically disadvantaged businesses can

    help ameliorate their condition and benefit the United States. These findings provide no

    guidance on how to allocate contracts. They do not, for example, provide any guidance on

    what kinds of contracts (e.g., I.T. service contracts or office supplies contracts) should be

    allocated for the 8(a) program to purportedly remedy discrimination in each particular




                                                 20
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 23 of 32 PageID# 122




    industry. In short, the SBA lacks any guidance on the “circumstances and conditions” by

    which contracts should be set aside for the 8(a) program. Panama Ref. Co., 293 U.S. at

    430. To the extent that Whitman requires there to be “literally no guidance” for a statute to

    violate the nondelegation doctrine, the 8(a) program’s set-aside provisions are precisely

    the provisions Whitman had in mind. Mot. to Dismiss at 20; 531 U.S. at 474.

           Moreover, even if the limitation of “necessary and appropriate” could be said to

    provide guidance, such a limitation is “no more precise a standard” than that provided by

    a limitation of “fair competition,” which the Court in Whitman noted was insufficient to

    “confer[] authority to regulate the entire economy.” 531 U.S at 474. Although the SBA

    does not regulate the entire economy, the value of all contracts awarded through the 8(a)

    set-aside program is significant––$8.7 billion in FY 2021. Congressional Research Service,

    supra, at Summary.

           The cases the SBA cites as examples of permissible delegations of authority are

    distinguishable. For example, Whitman involved a nondelegation challenge to the Clean

    Air Act’s delegation of authority to EPA to set national ambient air quality standards for

    ozone and particulate matter at a level “requisite to protect public health.” The delegation

    involved was much narrower than the delegation at issue in § 637(a)(1)(B). 531 U.S. at

    472. In Whitman, the EPA’s discretion involved only setting a numerical level of allowed

    particulate matter. Although the EPA’s decision to set the air pollution level was

    undoubtedly based on complex factors, the delegation itself to the EPA was narrow. By

    contrast, the delegation to the SBA to set aside contracts for the 8(a) program as “necessary

    and appropriate” involves far more discretion––the SBA has discretion to set aside




                                                 21
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 24 of 32 PageID# 123




    contracts from any industry and for any particular good or service. Plaintiffs have plausibly

    alleged a nondelegation claim.

           Plaintiffs also plausibly pled that the 8(a) program is a facially unconstitutional

    delegation of legislative power to the SBA to the extent it delegates the authority to make

    or enact racial classifications as the SBA deems “necessary or appropriate” and delegates

    the authority to decide how to determine whether someone belongs to a particular minority

    group. Compl. ¶ 109. 9

           Here, significant aspects of the 8(a) program lack any principle whatsoever, let

    alone an intelligible principle. As operated by the SBA, the 8(a) program has no criteria by

    which the SBA can determine that specific racial groups should no longer have members

    presumed to be socially disadvantaged. Although Defendants point to Congress’s findings,

    these findings, to the extent they form any principle, only inform which groups should be

    included at the time Congress created the program. Mot. to Dismiss at 21. Congressional

    findings provide no principle as to which groups should be removed. Indeed, although some

    racial and ethnic groups have been added to those presumptively considered socially

    disadvantaged, no racial or ethnic group has ever been removed from that list on the ground

    that the group is no longer adversely affected by the present effects of past discrimination.

    Yet without the ability to remove groups whose inclusion is no longer needed to serve a

    remedial interest, the 8(a) program cannot satisfy strict scrutiny under the Fifth



    9
      Significantly, plaintiffs challenge both 15 U.S.C. § 631 et seq. and 13 C.F.R. § 124.1
    et seq. Therefore, because the plaintiff in Rothe Development challenged the racial
    classification only in the statute and not in the regulation, Rothe Development is
    distinguishable and of limited relevance to this nondelegation challenge. 836 F.3d at 62.



                                                 22
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 25 of 32 PageID# 124




    Amendment. Adarand Constructors, 515 U.S. at 238 (strict scrutiny requires the Court to

    ask “whether the program was appropriately limited such that it ‘will not last longer than

    the discriminatory effects it is designed to eliminate’”) (quoting Fullilove, 448 U.S. at 513

    (Powell, J., concurring)).

               Additionally, the SBA lacks any principle, intelligible or not, for designating

    groups who are presumed to be socially disadvantaged. 10 The Administrator of the SBA is

    given authority to designate any group as socially disadvantaged as “necessary or

    appropriate.” 15 U.S.C. § 637(a)(1). The Administrator has wide discretion to grant racial

    groups the presumption of social disadvantage—discretion that is either virtually

    unfettered (if this Court agrees with Plaintiffs that the statutory preamble in Section 631 is

    relevant in determining the bounds of the 8(a) program) or literally unfettered (if this Court

    takes the government’s view that the Court should disregard the language in Section 631).

    As discussed in the following section, the discretion has led to arbitrary distinctions on

    which groups are entitled to the presumption of social disadvantage, and which groups

    are not.

    V.         Plaintiffs Plausibly Allege That the SBA’s Implementation of the 8(a)
               Program Violates Other Separation-of-Powers Principles

               The government fails to even address Plaintiffs’ other separation-of-powers claims.

    See Compl. Claims for Relief III & V. Plaintiffs plausibly allege that the SBA’s designation

    of racial and ethnic groups granted the presumption of social disadvantage exceeds


    10
       Even if the relevant statutes provided an intelligible principle, the power to make racial
    classifications squarely fall within the type of case in which “the significance of the
    delegated decision is simply too great for the decision to be called anything but legislative.”
    Whitman, 531 U.S. at 487 (Thomas, J., concurring).



                                                   23
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 26 of 32 PageID# 125




    statutory authority in violation of the Administrative Procedure Act (APA). See id., Claim

    for Relief III. As an agency, the SBA “has no power to act . . . unless and until Congress

    confers power upon it.” La. Publ. Serv. Comm’n v. FCC, 476 U.S. 355, 374 (1986).

    Accordingly, the APA directs courts to set aside agency action that is “in excess of statutory

    jurisdiction [or] authority.” 5 U.S.C. § 706(2)(C).

           Here, Congress found that socially disadvantaged groups “include, but are not

    limited to, Black Americans, Hispanic Americans, Native Americans, Indian tribes, Asian

    Pacific Americans, Native Hawaiian Organizations, and other minorities.” 15 U.S.C.

    § 631(f)(1)(C). 11 Yet SBA has designated numerous “socially disadvantaged” groups on

    grounds of race and ethnicity. For instance, although the statute affords racial preferences

    for Asian Pacific Americans, the SBA has expanded the same preferences to groups

    nowhere mentioned in the statute—such as subcontinent Asian Americans. See 13 C.F.R.

    § 124.103(b)(1). The SBA grants preferences in arbitrary ways. It recognizes a person from

    China, but not a person from Mongolia, as an Asian Pacific American. See id. Its

    regulations grant the presumption of social disadvantage to a business owner from Pakistan

    but not one from Afghanistan. See id.

           The SBA’s regulations also violate the APA because they are arbitrary and

    capricious. See Compl. Claim for Relief V. As the Supreme Court recently explained,

    courts must ensure that agencies “articulate[] ‘a satisfactory explanation’ for [their]


    11
       As noted above, the government’s position that the statute is race-neutral is wrong. But
    if the Court were to adopt the government’s gloss on the statutory language, that would
    only exacerbate the SBA’s problems under the Administrative Procedure Act because none
    of the racial or ethnic groups designated by the SBA to receive preferential treatment would
    have been granted such preferential treatment by statute.



                                                 24
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 27 of 32 PageID# 126




    decision[s]” and “remain[] within the bounds of reasoned decisionmaking.” Department of

    Commerce v. New York, 139 S. Ct. 2551, 2569 (2019). The SBA flunks that standard in

    several respects. As noted above, the SBA draws unreasoned distinctions between business

    owners from China and business owners from Mongolia; entrepreneurs from Pakistan and

    entrepreneurs from Afghanistan. What’s more, the SBA arbitrarily relies on Directive 15,

    “Race and Ethnic Standards for Federal Statistics and Administrative Reporting,” which

    itself instructs that its classifications are not “scientific or anthropological in nature,” and

    warns federal agencies against using them. The SBA has failed to provide a satisfactory

    explanation for its racial and ethnic classifications, and the government offers none in this

    case.

    VI.     The Statute of Limitations Does Not Bar Plaintiffs’ Request for
            Prospective Relief

            The statute of limitations does not bar Plaintiffs’ request for injunctive and

    declaratory relief both because the relief they seek is prospective and the injury they have

    suffered is continuing. As long recognized by the Fourth Circuit, “[t]he continued

    enforcement of an unconstitutional statute cannot be insulated by the statute of limitations.”

    Va. Hosp. Ass’n v. Baliles, 868 F.2d 653, 663 (4th Cir. 1989) (alteration in original; citation

    omitted). “A continuing violation is occasioned by continual unlawful acts, not continual

    ill effects from an original violation.” Nat’l Advert. Co. v. City of Raleigh, 947 F.2d 1158,

    1166–67 (4th Cir. 1991) (quoting Ward v. Caulk, 650 F.2d 1144, 1147 (9th Cir. 1981)).

            Thus, where a plaintiff challenges the constitutionality not of a particular state

    action that was completed in the past, but of a state law or policy that is currently and will

    continue to be enforced in the future, the continuing violation doctrine tolls the statute of



                                                  25
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 28 of 32 PageID# 127




    limitations. National Association for Rational Sexual Offense Laws v. Stein, No.

    1:17CV53, 2019 WL 3429120, at *9 (M.D.N.C. July 30, 2019) (“[B]ecause Plaintiffs in

    this action are seeking prospective relief for the continued enforcement of allegedly

    unconstitutional amendments to the registry law, the statute of limitations does not bar

    Plaintiffs’ claims.”); see also Williams v. Norfolk & W. Ry. Co., 530 F.2d 539, 542 (4th

    Cir. 1975) (holding in an employment discrimination case that plaintiffs “challenge this

    continuous discrimination rather than any single discriminatory act”).

            The government’s claim that “[u]nder federal law a cause of action accrues when

    the plaintiff possesses sufficient facts about the harm done to him that reasonable inquiry

    will reveal his cause of action,” Nasim v. Warden, Maryland House of Correction, 64 F.3d

    951, 955 (4th Cir. 1995), only applies when the plaintiff alleges a past and non-continuing

    injury. When a plaintiff challenges the constitutionality of a statute, “whose continued

    application works an ongoing constitutional violation,” the ordinary accrual rule does not

    apply but rather the clock “starts to run anew, every day that the statute applies.” Stein,

    2019 WL 3429120, at *9 (quoting Wallace v. New York, 40 F. Supp. 3d 278, 302 (E.D.N.Y.

    2014)); see also DePaola v. Clarke, 884 F.3d 481, 486 (4th Cir. 2018) (“[W]hen a harm

    has occurred more than once in a continuing series of acts or omissions, a plaintiff . . . may

    allege a ‘continuing violation’ for which the statute of limitations runs anew with each

    violation.”).

            By contrast, in each case cited by the government, the plaintiffs’ claims related to

    a “past and non-continuing injury.” Mot. to Dismiss at 25–27. For example, in Nasim v.

    Warden, Maryland House of Correction, the plaintiff alleged that the defendants exposed




                                                 26
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 29 of 32 PageID# 128




    him to asbestos in his prison cell while he was incarcerated from April 1983 to November

    1989, which exposure led to specific personal injuries such as lung disease and skin lesions.

    64 F.3d at 952. Yet in Nasim, the asbestos was removed in 1989 and Nasim’s action was

    not filed until 1992, “almost four years after the alleged asbestos removal.” Id. at 953

    (emphasis added). Likewise, Johnson v. Jessup is entirely distinguishable because the

    plaintiffs there challenged the constitutionality of a “single act,” specifically the state’s

    failure to provide notice prior to revoking their drivers’ licenses. 381 F. Supp. 3d 619, 636

    (M.D.N.C. 2019). As the court noted, the “continuing violation” exception to statutes of

    limitations “is occasioned by continual unlawful acts, not continual ill effects from an

    original violation,” Johnson, 381 F. Supp. 3d at 636 n.19 (quoting Raleigh, 947 F.2d at

    1166). Because the plaintiffs’ claim was that “it is unconstitutional for the DMV to revoke

    their driver’s licenses for failure to pay fines and costs without first affirmatively

    determining that they have the ability to pay,” the plaintiffs’ claims relate entirely to acts

    that occurred in the past––their licenses have already been revoked and, ipso facto, their

    same licenses cannot continue to be revoked by new acts. Johnson, 381 F. Supp. 3d at 623.

           The fact that Mr. Hierholzer’s applications were denied in 2009 and 2016 is

    irrelevant because, unlike the plaintiffs in Johnson, Mr. Hielholzer could apply again for

    acceptance into the 8(a) program should the racial presumption be struck down.

    Mr. Hierholzer does not challenge the ill effects of his denial from the 8(a) program, such

    as his lack of access to the program’s many benefits. See Compl. ¶¶ 71–73. Nor does

    Mr. Hierholzer seek to retroactively force the SBA to accept his application, unlike the




                                                 27
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 30 of 32 PageID# 129




    plaintiffs in Johnson who sought a preliminary injunction “to bar the DMV from revoking

    licenses.” Johnson, 381 F. Supp. 3d at 638; Compl. Prayer for Relief ¶¶ A–F.

           Instead, Mr. Hierholzer challenges his lack of opportunity to compete on an equal

    footing for eligibility into the 8(a) program and contracts exclusively allocated to the

    program as applicants who are automatically presumed to be socially disadvantaged

    because of their race. See Compl. ¶¶ 67–68. This is precisely how the court in Dynalantic I

    described the petitioner’s injury caused by the 8(a) program. Dynalantic I, 115 F.3d at 1016

    (“Dynalantic’s injury is its lack of opportunity to compete for Defense Department

    contracts reserved to 8(a) firms.”); see also City of Jacksonville, 508 U.S. at 666

    (contractor’s injury in challenge to a minority set-aside program was “the inability to

    compete on an equal footing in the bidding process, not the loss of a contract”). As the

    Supreme Court explained in Regents of University of California v. Bakke when striking

    down the University of California’s admissions program that set-aside seats for which only

    members of certain races were eligible: “[Applicants who are not the designated race] are

    never afforded the chance to compete with applicants from the preferred groups for the

    special admissions seats. At the same time, the preferred applicants have the opportunity

    to compete for every seat in the class.” 438 U.S. 265, 319–20 (1978).

           Like the contractors in Dynalantic I and City of Jacksonville, and like students in

    Bakke and Grutter, Mr. Hierholzer simply seeks to compete on equal footing as those 8(a)

    program participants who were presumed to be socially disadvantaged. Because

    Mr. Hierholzer challenges the continued implementation of the racial presumption, each




                                                28
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 31 of 32 PageID# 130




    time the SBA employs its racial classifications constitutes a new act. Accordingly,

    Mr. Hierholzer’s claims are not barred by the statute of limitations.

                                         CONCLUSION

           Defendants’ Motion to Dismiss should be denied.

    DATED: April 7, 2023.

              Respectfully submitted,

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                                                 29
Case 2:23-cv-00024-RAJ-DEM Document 26 Filed 04/07/23 Page 32 of 32 PageID# 131




                                 CERTIFICATE OF SERVICE


           I hereby certify that on April 7, 2023, I submitted the foregoing to the Clerk of the

    Court via the District Court’s CM/ECF system, which will provide notice of the submission

    of this document to all counsel of record.

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